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                                                      Exhibit 19
                      Designations of Deposition Testimony of Adam Kincaid (November 2, 2023)


              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
       12:13                  12:14
         22:9                 22:11
       23:12                   24:2
       44:21                  45:18
         48:3                 49:16
       52:23                   53:8
         54:6                 54:20
         55:5                 55:25
         56:7                 56:15
         60:2                  61:1
         64:4                 64:14
       66:12                   69:2
       90:14                  90:25
         92:8                  93:1
       103:5                  104:6
        111:5                 115:1
        115:7                 118:7
      121:21                  123:4
       123:7                  123:9
      123:23                  124:5
      124:24                  126:2
       126:6                 126:12
      126:16                  129:5
       141:2                 141:11
      156:17                 161:10
       165:11                165:21

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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
      204:13                207:12
       222:9                223:14
       246:5                246:18
      247:10                247:21
       253:2                258:11
       261:7                261:23
       266:9                268:22
      286:12                 287:5
      287:22                288:17
      291:19                 292:3
      303:22                305:23
      322:24                323:13
       325:2                325:15
      329:25                330:25
       331:6                332:23




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